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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ETHAN ARNHEIM,
1818 4th Street NW                                Case No. 25-1316
Washington, DC 20001

       Plaintiff,

v.

CITIBANK, N.A.,
c/o Matthew Lamb
1909 K. St NW 12th Floor
Washington D.C., 20006

       Defendant.


                                   NOTICE OF REMOVAL

       Defendant Citibank, N.A. (“Citibank”) provides notice pursuant to 28 U.S.C. §§ 1332,

1441, & 1446 of the removal of the above-captioned case from the Superior Court of the District

of Columbia (the “State Court”) to the United States District Court for the District of Columbia.

As grounds for removal, Citibank states as follows:

                                        BACKGROUND

       1.      On April 8, 2025, plaintiff Ethan Arnheim (“Plaintiff”) filed a Complaint against

Citibank in the State Court. A copy of the Complaint and the associated Summons is attached as

Exhibit A. The State Court issued the Initial Order attached hereto as Exhibit B and assigned

the case the number 2025-CAB-002161.

       2.      Per the Affidavit of Service attached hereto as Exhibit C, Plaintiff purported to

serve Citibank on April 9, 2025 by having the Summons and Complaint delivered to a Citibank

retail branch located at 1258 Wisconsin Avenue, NW, Washington, DC 20007.

       3.      In his Complaint, Plaintiff alleges Citibank wrongfully froze seven deposit

accounts he held with Citibank. Based on this allegation, Plaintiff brings claims for breach of
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contract, breach of the implied covenant of good faith and fair dealing, and negligence. Plaintiff

requests $10,000 in compensatory damages, the “return” of roughly $300,000 held in the

accounts, pre- and post-judgment interest, punitive damages, and costs.

                                 JURISDICTION AND VENUE

          4.    The Court has diversity jurisdiction under 28 U.S.C. § 1332(a)(1) because

Plaintiff and Citibank are citizens of different states and the amount in controversy exceeds

$75,000.

          5.    Plaintiff is an individual and a citizen of the District of Columbia.

          6.    Citibank is a national banking association organized under federal law with its

main office in South Dakota. Therefore, Citibank is a citizen of South Dakota for purposes of

diversity jurisdiction. See 28 U.S.C. § 1348; Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 318

(2006).

          7.    The amount in controversy exceeds $75,000 because Plaintiff requests $10,000 in

compensatory damages, the “return” of the roughly $300,000 held in the accounts, pre- and post-

judgment interest, punitive damages, and costs. See 28 U.S.C. § 1446(c)(2) (“the sum demanded

in good faith in the initial pleading” is generally “deemed to be the amount in controversy”).

          8.    Pursuant to 28 U.S.C. § 1441(a), this judicial district is the proper venue for

removal because the State Court lies within this district.

                                PROCEDURAL COMPLIANCE

          9.    This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11. See 28 U.S.C.

§ 1446(a).

          10.   The documents attached hereto as Exhibits A, B, and C represent all the

documents which have been served on Citibank in the State Court proceedings. See id.




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         11.    Removal of this action is timely. Assuming, for the sake of argument, that

Citibank was properly served on April 9, 2025, the deadline for removal is not until May 9,

2025. See id. § 1446(b)(1).

         12.    Copies of this Notice are being served on all parties of record and filed with the

State Court. See 28 U.S.C. § 1446(d).

         WHEREFORE, defendant Citibank hereby gives notice that the action is removed to this

Court.

Dated: April 30, 2025                                 Respectfully submitted,

                                                      BALLARD SPAHR LLP

                                                      /s/ John D. Sadler
                                                      John D. Sadler (#483301)
                                                      Matthew D. Lamb (#1034529)
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                                                      Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

       I certify that on April 30, 2025, I directed that the foregoing Notice of Removal be served

to the following via first class mail and e-mail:

       Ethan Arnheim
       1818 4th Street NW
       Washington, DC 20001
       ethanarnheim@gmail.com

       Pro Se Plaintiff

                                                            /s/ John D. Sadler
                                                            JOHN D. SADLER




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